                                                                                  Case 15-24142                   Doc 1
                                                                                                                     Filed 07/15/15 Entered 07/15/15 15:45:37 Desc Main
                                                                   B1 (Official Form 1) (04/13)                        Document        Page 1 of 40
                                                                                                      United States Bankruptcy Court
                                                                                                 Northern District of Illinois, Eastern Division              Voluntary Petition
                                                                    Name of Debtor (if individual, enter Last, First, Middle):                              Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                    Guerrero, Andrea
                                                                    All Other Names used by the Debtor in the last 8 years                                  All Other Names used by the Joint Debtor in the last 8 years
                                                                    (include married, maiden, and trade names):                                             (include married, maiden, and trade names):
                                                                    Andrea Valladares


                                                                    Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN
                                                                    (if more than one, state all):     9688                                                 (if more than one, state all):

                                                                    Street Address of Debtor (No. & Street, City, State & Zip Code):                        Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                    601 W Pickwick Ct
                                                                    Mount Prospect, IL
                                                                                                                          ZIPCODE 60056-5309                                                                               ZIPCODE
                                                                    County of Residence or of the Principal Place of Business:                              County of Residence or of the Principal Place of Business:
                                                                    Cook
                                                                    Mailing Address of Debtor (if different from street address)                            Mailing Address of Joint Debtor (if different from street address):


                                                                                                                           ZIPCODE                                                                                         ZIPCODE
                                                                    Location of Principal Assets of Business Debtor (if different from street address above):
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                                                                                                                                                                                                                           ZIPCODE
                                                                                       Type of Debtor                                      Nature of Business                                Chapter of Bankruptcy Code Under Which
                                                                                   (Form of Organization)                                   (Check one box.)                                    the Petition is Filed (Check one box.)
                                                                                      (Check one box.)                           Health Care Business                                    Chapter 7                    Chapter 15 Petition for
                                                                      Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in 11               Chapter 9                    Recognition of a Foreign
                                                                      See Exhibit D on page 2 of this form.                      U.S.C. § 101(51B)                                       Chapter 11                   Main Proceeding
                                                                      Corporation (includes LLC and LLP)                         Railroad                                                Chapter 12                   Chapter 15 Petition for
                                                                      Partnership                                                Stockbroker                                             Chapter 13                   Recognition of a Foreign
                                                                      Other (If debtor is not one of the above entities,         Commodity Broker                                                                     Nonmain Proceeding
                                                                      check this box and state type of entity below.)            Clearing Bank                                                              Nature of Debts
                                                                                                                                 Other                                                                      (Check one box.)
                                                                                    Chapter 15 Debtor                                                                                     Debts are primarily consumer       Debts are primarily
                                                                    Country of debtor’s center of main interests:                           Tax-Exempt Entity                            debts, defined in 11 U.S.C.         business debts.
                                                                    __________________________________________                           (Check box, if applicable.)                     § 101(8) as “incurred by an
                                                                    Each country in which a foreign proceeding by,               Debtor is a tax-exempt organization under               individual primarily for a
                                                                    regarding, or against debtor is pending:                     Title 26 of the United States Code (the                 personal, family, or house-
                                                                    __________________________________________                   Internal Revenue Code).                                 hold purpose.”
                                                                                        Filing Fee (Check one box)                                                             Chapter 11 Debtors
                                                                                                                                           Check one box:
                                                                      Full Filing Fee attached
                                                                                                                                             Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                      Filing Fee to be paid in installments (Applicable to individuals
                                                                      only). Must attach signed application for the court’s                Check if:
                                                                      consideration certifying that the debtor is unable to pay fee            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less
                                                                      except in installments. Rule 1006(b). See Official Form 3A.              than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
                                                                                                                                             ----------------------------------------------------------------
                                                                      Filing Fee waiver requested (Applicable to chapter 7 individuals     Check all applicable boxes:
                                                                      only). Must attach signed application for the court’s                  A plan is being filed with this petition
                                                                      consideration. See Official Form 3B.                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                                                                                             accordance with 11 U.S.C. § 1126(b).
                                                                    Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR
                                                                       Debtor estimates that funds will be available for distribution to unsecured creditors.                                                                   COURT USE ONLY
                                                                       Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                       distribution to unsecured creditors.
                                                                   Estimated Number of Creditors

                                                                   1-49      50-99         100-199      200-999       1,000-         5,001-           10,001-             25,001-             50,001-           Over
                                                                                                                      5,000          10,000           25,000              50,000              100,000           100,000
                                                                   Estimated Assets

                                                                   $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                   $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                   Estimated Liabilities

                                                                   $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                   $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
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                                                                   Voluntary Petition                                                              Name of Debtor(s):
                                                                    (This page must be completed and filed in every case)                          Guerrero, Andrea

                                                                                         All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                    Location                                                                       Case Number:                              Date Filed:
                                                                    Where Filed:None
                                                                    Location                                                                       Case Number:                              Date Filed:
                                                                    Where Filed:
                                                                       Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                    Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                    None
                                                                    District:                                                                      Relationship:                             Judge:


                                                                                                   Exhibit A                                                                            Exhibit B
                                                                    (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                    10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                    Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                    requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                   chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                        Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                   that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).
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                                                                                                                                                   X   /s/ Karen Walin                                                7/15/15
                                                                                                                                                       Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                           Exhibit C
                                                                    Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                    or safety?
                                                                        Yes, and Exhibit C is attached and made a part of this petition.
                                                                        No

                                                                                                                                           Exhibit D
                                                                    (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                            Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                    If this is a joint petition:
                                                                              Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

                                                                                                                      Information Regarding the Debtor - Venue
                                                                                                                                  (Check any applicable box.)
                                                                            Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                            preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                            There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                            Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                            or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                            in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                  Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                              (Check all applicable boxes.)
                                                                            Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                          (Name of landlord that obtained judgment)

                                                                                                                                      (Address of landlord)
                                                                            Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                                                                            the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                            Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                            filing of the petition.
                                                                            Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                                                                                                     United States Bankruptcy Court
                                                                                                                Northern District of Illinois, Eastern Division

                                                                   IN RE:                                                                                           Case No.
                                                                   Guerrero, Andrea                                                                                 Chapter 7
                                                                                                                 Debtor(s)

                                                                                            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                          CREDIT COUNSELING REQUIREMENT
                                                                   Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                   do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                   whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                   and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                   to stop creditors’ collection activities.
                                                                   Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                   one of the five statements below and attach any documents as directed.
                                                                      1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                   the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                   performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                   certificate and a copy of any debt repayment plan developed through the agency.
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                                                                      2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                   the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                   performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                   a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                   the agency no later than 14 days after your bankruptcy case is filed.
                                                                      3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                                                                   days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                   requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                   If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                   you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                   of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                   case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                   also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                   counseling briefing.
                                                                     4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                   motion for determination by the court.]
                                                                          Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                          of realizing and making rational decisions with respect to financial responsibilities.);
                                                                          Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                          participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                          Active military duty in a military combat zone.
                                                                      5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                   does not apply in this district.
                                                                   I certify under penalty of perjury that the information provided above is true and correct.


                                                                   Signature of Debtor: /s/ Andrea Guerrero
                                                                   Date: July 15, 2015
                                                                               CaseForm
                                                                   B6 Summary (Official 15-24142
                                                                                           6 - Summary) Doc
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                                                                                                                           United States Bankruptcy Court
                                                                                                                      Northern District of Illinois, Eastern Division

                                                                   IN RE:                                                                                                                Case No.
                                                                   Guerrero, Andrea                                                                                                      Chapter 7
                                                                                                                        Debtor(s)

                                                                                                                                 SUMMARY OF SCHEDULES
                                                                   Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                   provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                   determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                   a case under chapter 7, 11, or 13.

                                                                                                                               ATTACHED             NO. OF
                                                                    NAME OF SCHEDULE
                                                                                                                                (YES/NO)            SHEETS                 ASSETS                LIABILITIES                 OTHER


                                                                    A - Real Property                                               Yes                          1 $                  0.00



                                                                    B - Personal Property                                           Yes                          3 $            4,300.00
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                                                                    C - Property Claimed as Exempt                                  Yes                          1



                                                                    D - Creditors Holding Secured Claims                            Yes                          1                           $                 0.00


                                                                    E - Creditors Holding Unsecured Priority
                                                                                                                                    Yes                          1                           $                 0.00
                                                                        Claims (Total of Claims on Schedule E)

                                                                    F - Creditors Holding Unsecured
                                                                                                                                    Yes                          3                           $          13,063.00
                                                                        Nonpriority Claims

                                                                    G - Executory Contracts and Unexpired
                                                                                                                                    Yes                          1
                                                                        Leases


                                                                    H - Codebtors                                                   Yes                          1


                                                                    I - Current Income of Individual
                                                                                                                                    Yes                          3                                                     $           2,015.04
                                                                        Debtor(s)

                                                                    J - Current Expenditures of Individual
                                                                                                                                    Yes                          3                                                     $           2,002.00
                                                                        Debtor(s)


                                                                                                                                    TOTAL                      18 $             4,300.00 $              13,063.00
                                                                               Case Form
                                                                   B 6 Summary (Official 15-24142
                                                                                            6 - Summary)Doc
                                                                                                        (12/14)1   Filed 07/15/15 Entered 07/15/15 15:45:37                   Desc Main
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                                                                                                                 United States Bankruptcy Court
                                                                                                            Northern District of Illinois, Eastern Division

                                                                   IN RE:                                                                                       Case No.
                                                                   Guerrero, Andrea                                                                             Chapter 7
                                                                                                             Debtor(s)

                                                                           STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                            If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11
                                                                   U.S.C. § 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                              Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report
                                                                   any information here.

                                                                   This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                   Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                    Type of Liability                                                                                        Amount

                                                                    Domestic Support Obligations (from Schedule E)                                                    $           0.00
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                                                                    Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $           0.00

                                                                    Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                    disputed or undisputed)                                                                           $           0.00

                                                                    Student Loan Obligations (from Schedule F)                                                        $           0.00

                                                                    Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                    Schedule E                                                                                        $           0.00

                                                                    Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $           0.00

                                                                                                                                                           TOTAL      $           0.00


                                                                    State the following:

                                                                    Average Income (from Schedule I, Line 12)                                                         $      2,015.04

                                                                    Average Expenses (from Schedule J, Line 22)                                                       $      2,002.00

                                                                    Current Monthly Income (from Form 22A-1 Line 11; OR, Form 22B Line 14; OR, Form 22C-1
                                                                    Line 14 )                                                                                         $      1,143.16


                                                                    State the following:

                                                                    1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                         $          0.00

                                                                    2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $           0.00

                                                                    3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                           $          0.00

                                                                    4. Total from Schedule F                                                                                             $    13,063.00

                                                                    5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                         $    13,063.00
                                                                                 Case
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                                                                   IN RE Guerrero, Andrea                                                                                                  Case No.
                                                                                                                              Debtor(s)                                                                                                    (If known)

                                                                                                                              SCHEDULE A - REAL PROPERTY
                                                                      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                   property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                   married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                   or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                     Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                   interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                     If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                                                                              OR COMMUNITY
                                                                                                                                                                                                                     CURRENT VALUE OF
                                                                                                                                                                                                                    DEBTOR'S INTEREST IN
                                                                                                                                                                 NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                           DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                     SECURED CLAIM OR
                                                                                                                                                                                                                         EXEMPTION



                                                                   None
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                                                                                                                                                                                    TOTAL                                          0.00
                                                                                                                                                                                                                   (Report also on Summary of Schedules)
                                                                                  Case
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                                                                   IN RE Guerrero, Andrea                                                                                                 Case No.
                                                                                                                              Debtor(s)                                                                                             (If known)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                      Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                   appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                   and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                   “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                   in Schedule C - Property Claimed as Exempt.

                                                                     Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                     If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                   held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                   not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                      OR COMMUNITY
                                                                                                                                                                                                                                            CURRENT VALUE OF
                                                                                                                     N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                     O                                                                                                                      PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                                                                        DEDUCTING ANY
                                                                                                                     E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                EXEMPTION




                                                                      1. Cash on hand.                               X
                                                                      2. Checking, savings or other financial            Chase checking account                                                                                                        800.00
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                                                                         accounts, certificates of deposit or
                                                                         shares in banks, savings and loan,
                                                                         thrift, building and loan, and
                                                                         homestead associations, or credit
                                                                         unions, brokerage houses, or
                                                                         cooperatives.
                                                                      3. Security deposits with public utilities,    X
                                                                         telephone companies, landlords, and
                                                                         others.
                                                                      4. Household goods and furnishings,                Furniture and household goods                                                                                               1,200.00
                                                                         include audio, video, and computer
                                                                         equipment.
                                                                      5. Books, pictures and other art objects,      X
                                                                         antiques, stamp, coin, record, tape,
                                                                         compact disc, and other collections or
                                                                         collectibles.
                                                                      6. Wearing apparel.                                Debtors personal clothing                                                                                                     300.00
                                                                      7. Furs and jewelry.                           X
                                                                      8. Firearms and sports, photographic,          X
                                                                         and other hobby equipment.
                                                                      9. Interest in insurance policies. Name        X
                                                                         insurance company of each policy and
                                                                         itemize surrender or refund value of
                                                                         each.
                                                                    10. Annuities. Itemize and name each             X
                                                                        issue.
                                                                    11. Interests in an education IRA as             X
                                                                        defined in 26 U.S.C. § 530(b)(1) or
                                                                        under a qualified State tuition plan as
                                                                        defined in 26 U.S.C. § 529(b)(1).
                                                                        Give particulars. (File separately the
                                                                        record(s) of any such interest(s). 11
                                                                        U.S.C. § 521(c).)
                                                                    12. Interests in IRA, ERISA, Keogh, or           X
                                                                        other pension or profit sharing plans.
                                                                        Give particulars.
                                                                    13. Stock and interests in incorporated          X
                                                                        and unincorporated businesses.
                                                                        Itemize.
                                                                    14. Interests in partnerships or joint           X
                                                                        ventures. Itemize.
                                                                                  Case
                                                                   B6B (Official Form 6B) 15-24142
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                                                                                                                           Debtor(s)                                                                        (If known)

                                                                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                                                               (Continuation Sheet)




                                                                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                                                                              OR COMMUNITY
                                                                                                                                                                                                                    CURRENT VALUE OF
                                                                                                                    N                                                                                              DEBTOR'S INTEREST IN
                                                                                                                    O                                                                                               PROPERTY WITHOUT
                                                                                 TYPE OF PROPERTY                                      DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                    N                                                                                                 DEDUCTING ANY
                                                                                                                    E                                                                                               SECURED CLAIM OR
                                                                                                                                                                                                                        EXEMPTION




                                                                    15. Government and corporate bonds and          X
                                                                        other negotiable and non-negotiable
                                                                        instruments.
                                                                    16. Accounts receivable.                        X
                                                                    17. Alimony, maintenance, support, and          X
                                                                        property settlements in which the
                                                                        debtor is or may be entitled. Give
                                                                        particulars.
                                                                    18. Other liquidated debts owed to debtor       X
                                                                        including tax refunds. Give
                                                                        particulars.
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                                                                    19. Equitable or future interest, life          X
                                                                        estates, and rights or powers
                                                                        exercisable for the benefit of the
                                                                        debtor other than those listed in
                                                                        Schedule A - Real Property.
                                                                    20. Contingent and noncontingent                X
                                                                        interests in estate of a decedent, death
                                                                        benefit plan, life insurance policy, or
                                                                        trust.
                                                                    21. Other contingent and unliquidated           X
                                                                        claims of every nature, including tax
                                                                        refunds, counterclaims of the debtor,
                                                                        and rights to setoff claims. Give
                                                                        estimated value of each.
                                                                    22. Patents, copyrights, and other              X
                                                                        intellectual property. Give particulars.
                                                                    23. Licenses, franchises, and other             X
                                                                        general intangibles. Give particulars.
                                                                    24. Customer lists or other compilations        X
                                                                        containing personally identifiable
                                                                        information (as defined in 11 U.S.C. §
                                                                        101(41A)) provided to the debtor by
                                                                        individuals in connection with
                                                                        obtaining a product or service from
                                                                        the debtor primarily for personal,
                                                                        family, or household purposes.
                                                                    25. Automobiles, trucks, trailers, and              2006 FORD Taurus-V6                                                                                  2,000.00
                                                                        other vehicles and accessories.                 100,000 Miles
                                                                    26. Boats, motors, and accessories.             X
                                                                    27. Aircraft and accessories.                   X
                                                                    28. Office equipment, furnishings, and          X
                                                                        supplies.
                                                                    29. Machinery, fixtures, equipment, and         X
                                                                        supplies used in business.
                                                                    30. Inventory.                                  X
                                                                    31. Animals.                                    X
                                                                    32. Crops - growing or harvested. Give          X
                                                                        particulars.
                                                                    33. Farming equipment and implements.           X
                                                                    34. Farm supplies, chemicals, and feed.         X
                                                                                  Case
                                                                   B6B (Official Form 6B) 15-24142
                                                                                          (12/07) - Cont.     Doc 1    Filed 07/15/15 Entered 07/15/15 15:45:37                          Desc Main
                                                                                                                        Document     Page 11 of 40
                                                                   IN RE Guerrero, Andrea                                                                                Case No.
                                                                                                                      Debtor(s)                                                                                (If known)

                                                                                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                                                                          (Continuation Sheet)




                                                                                                                                                                                              HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                 OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                               N                                                                                                      DEBTOR'S INTEREST IN
                                                                                                               O                                                                                                       PROPERTY WITHOUT
                                                                                TYPE OF PROPERTY                                  DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                               N                                                                                                         DEDUCTING ANY
                                                                                                               E                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION




                                                                    35. Other personal property of any kind    X
                                                                        not already listed. Itemize.
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                                                                                                                                                                                        TOTAL                                   4,300.00
                                                                                                                                                                   (Include amounts from any continuation sheets attached.
                                                                           0 continuation sheets attached                                                                     Report total also on Summary of Schedules.)
                                                                                 Case
                                                                   B6C (Official Form 6C) 15-24142
                                                                                          (04/13)                Doc 1         Filed 07/15/15 Entered 07/15/15 15:45:37                                Desc Main
                                                                                                                                Document     Page 12 of 40
                                                                   IN RE Guerrero, Andrea                                                                                           Case No.
                                                                                                                             Debtor(s)                                                                         (If known)

                                                                                                               SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                   Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $155,675. *
                                                                   (Check one box)
                                                                         11 U.S.C. § 522(b)(2)
                                                                         11 U.S.C. § 522(b)(3)

                                                                                                                                                                                                                   CURRENT VALUE
                                                                                                                                                                                          VALUE OF CLAIMED          OF PROPERTY
                                                                                     DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                             EXEMPTION           WITHOUT DEDUCTING
                                                                                                                                                                                                                    EXEMPTIONS

                                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                   Chase checking account                                       735 ILCS 5/12-1001(b)                                                 800.00                     800.00
                                                                   Furniture and household goods                                735 ILCS 5/12-1001(b)                                               1,200.00                1,200.00
                                                                   Debtors personal clothing                                    735 ILCS 5/12-1001(a)                                                 300.00                     300.00
                                                                   2006 FORD Taurus-V6                                          735 ILCS 5/12-1001(c)                                               2,400.00                2,000.00
                                                                   100,000 Miles
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                                                                   * Amount subject to adjustment on 4/1/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                 Case
                                                                   B6D (Official Form 6D) 15-24142
                                                                                          (12/07)                 Doc 1                  Filed 07/15/15 Entered 07/15/15 15:45:37                                                                                Desc Main
                                                                                                                                          Document     Page 13 of 40
                                                                   IN RE Guerrero, Andrea                                                                                                                     Case No.
                                                                                                                               Debtor(s)                                                                                                                                      (If known)

                                                                                                           SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                      State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                   date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                   the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                   security interests.
                                                                     List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                   guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                   will not fit on this page, use the continuation sheet provided.
                                                                     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                   schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                   on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                      If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                   is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                      Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                   of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                   if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                   Liabilities and Related Data.

                                                                       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                         HUSBAND, WIFE, JOINT,
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                                                                                                                                            OR COMMUNITY




                                                                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                                                                     CONTINGENT
                                                                                                                              CODEBTOR




                                                                                                                                                                                                                                                               AMOUNT OF




                                                                                                                                                                                                                                                 DISPUTED
                                                                            CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                       UNSECURED
                                                                          INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                     PORTION, IF ANY
                                                                                     (See Instructions Above.)                                                               PROPERTY SUBJECT TO LIEN                                                           VALUE OF
                                                                                                                                                                                                                                                              COLLATERAL




                                                                   ACCOUNT NO.




                                                                                                                                                                 Value $

                                                                   ACCOUNT NO.




                                                                                                                                                                 Value $

                                                                   ACCOUNT NO.




                                                                                                                                                                 Value $

                                                                   ACCOUNT NO.




                                                                                                                                                                 Value $
                                                                                                                                                                                                                     Subtotal
                                                                          0 continuation sheets attached                                                                                                 (Total of this page) $                                                     $
                                                                                                                                                                                                                        Total
                                                                                                                                                                                                      (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                            (Report also on         (If applicable, report
                                                                                                                                                                                                                                                            Summary of              also on Statistical
                                                                                                                                                                                                                                                            Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                    Liabilities and Related
                                                                                                                                                                                                                                                                                    Data.)
                                                                                  Case
                                                                   B6E (Official Form 6E) 15-24142
                                                                                          (04/13)                  Doc 1         Filed 07/15/15 Entered 07/15/15 15:45:37                                          Desc Main
                                                                                                                                  Document     Page 14 of 40
                                                                   IN RE Guerrero, Andrea                                                                                                    Case No.
                                                                                                                               Debtor(s)                                                                                   (If known)

                                                                                              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                      A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                   priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                   number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                   sheet for each type of priority and label each with the type of priority.

                                                                      The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                   If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                   not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                   schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                   on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                   "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                   may need to place an "X" in more than one of these three columns.)

                                                                     Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                   on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                     Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
                                                                   on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
                                                                   Statistical Summary of Certain Liabilities and Related Data.

                                                                      Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                   listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
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                                                                   the Statistical Summary of Certain Liabilities and Related Data.

                                                                       Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                   TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                        Domestic Support Obligations
                                                                        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                        responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                        U.S.C. § 507(a)(1).
                                                                        Extensions of credit in an involuntary case
                                                                        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                        appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                                                        Wages, salaries, and commissions
                                                                        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                        independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                        cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                        Contributions to employee benefit plans
                                                                        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                        cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                        Certain farmers and fishermen
                                                                        Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                        Deposits by individuals
                                                                        Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                        were not delivered or provided. 11 U.S.C. § 507(a)(7).
                                                                        Taxes and Certain Other Debts Owed to Governmental Units
                                                                        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                        Commitments to Maintain the Capital of an Insured Depository Institution
                                                                        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                        of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                        Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                        a drug, or another substance. 11 U.S.C. § 507(a)(10).

                                                                        * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                          0 continuation sheets attached
                                                                                  Case
                                                                   B6F (Official Form     15-24142
                                                                                      6F) (12/07)                 Doc 1          Filed 07/15/15 Entered 07/15/15 15:45:37                                                          Desc Main
                                                                                                                                  Document     Page 15 of 40
                                                                   IN RE Guerrero, Andrea                                                                                                                       Case No.
                                                                                                                               Debtor(s)                                                                                                              (If known)

                                                                                         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                   or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                   the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                   guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                   listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                   schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                   on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                      If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                   is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                     Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                   Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                       Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                 CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
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                                                                                        (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                   ACCOUNT NO. 4392                                                                                     Open account
                                                                   AT&T                                                                                                 2012-08-01
                                                                   P O Box 755
                                                                   Atwater, CA 95301-0755

                                                                                                                                                                                                                                                                                   206.00
                                                                   ACCOUNT NO.                                                                                          Assignee or other notification for:
                                                                   Eos Cca                                                                                              AT&T
                                                                   PO Box 981008
                                                                   Boston, MA 02298-1008



                                                                   ACCOUNT NO. 4736                                                                                     Revolving account
                                                                   Comenity Bank/Carsons                                                                                2014-11-01
                                                                   3100 Easton Square Pl
                                                                   Columbus, OH 43219-6232

                                                                                                                                                                                                                                                                                   199.00
                                                                   ACCOUNT NO. 8505                                                                                     Revolving account
                                                                   Comenity Bank/Roomplce                                                                               2006-04-17
                                                                   PO Box 182789
                                                                   Columbus, OH 43218-2789

                                                                                                                                                                                                                                                                                   912.00
                                                                                                                                                                                                                                         Subtotal
                                                                          2 continuation sheets attached                                                                                                                     (Total of this page) $                              1,317.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                                  Case
                                                                   B6F (Official Form     15-24142
                                                                                      6F) (12/07) - Cont.       Doc 1         Filed 07/15/15 Entered 07/15/15 15:45:37                                                           Desc Main
                                                                                                                               Document     Page 16 of 40
                                                                   IN RE Guerrero, Andrea                                                                                                                     Case No.
                                                                                                                            Debtor(s)                                                                                                               (If known)

                                                                                        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                (Continuation Sheet)




                                                                                                                                              HUSBAND, WIFE, JOINT,
                                                                                                                                                 OR COMMUNITY




                                                                                                                                                                                                                                                    UNLIQUIDATED
                                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                   CODEBTOR




                                                                                                                                                                                                                                                                   DISPUTED
                                                                                CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                            INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                       (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                   ACCOUNT NO. 7439                                                                                   Open account
                                                                   Dish Network                                                                                       2014-12-01
                                                                   9601 S Meridian Blvd
                                                                   Englewood, CO 80112-5905

                                                                                                                                                                                                                                                                                 480.00
                                                                   ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                   Stellar Recovery Inc                                                                               Dish Network
                                                                   1327 Highway 2
                                                                   Kalispell, MT 59901
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                                                                   ACCOUNT NO. 7260                                                                                   Installment account
                                                                   Hy Cite/Royal Prestige                                                                             2012-08-01
                                                                   333 Holtzman Rd
                                                                   Madison, WI 53713-2109

                                                                                                                                                                                                                                                                                 589.00
                                                                   ACCOUNT NO. 1480                                                                                   Revolving account
                                                                   Kohls/capone                                                                                       2011-04-01
                                                                   N56 W 17000 Ridgewood Dr
                                                                   Menomonee Falls, WI 53051

                                                                                                                                                                                                                                                                                 593.00
                                                                   ACCOUNT NO. 1339                                                                                   Open account
                                                                   Municipality Des Plaines Il                                                                        Unknown
                                                                   1420 Miner St
                                                                   Des Plaines, IL 60016-4484

                                                                                                                                                                                                                                                                                 200.00
                                                                   ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                   A/R Concepts                                                                                       Municipality Des Plaines Il
                                                                   18-3 E Dundee Rd
                                                                   Barrington, IL 60010-5292



                                                                   ACCOUNT NO. 1793                                                                                   Open account
                                                                   Quest Diagnostics Incorporat                                                                       Unknown
                                                                   7800 W College Dr
                                                                   Palos Heights, IL 60463-1007

                                                                                                                                                                                                                                                                                  76.00
                                                                   Sheet no.       1 of        2 continuation sheets attached to                                                                                                       Subtotal
                                                                   Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              1,938.00
                                                                                                                                                                                                                                          Total
                                                                                                                                                                             (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                 the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                              Summary of Certain Liabilities and Related Data.) $
                                                                                  Case
                                                                   B6F (Official Form     15-24142
                                                                                      6F) (12/07) - Cont.       Doc 1         Filed 07/15/15 Entered 07/15/15 15:45:37                                                           Desc Main
                                                                                                                               Document     Page 17 of 40
                                                                   IN RE Guerrero, Andrea                                                                                                                     Case No.
                                                                                                                            Debtor(s)                                                                                                               (If known)

                                                                                        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                (Continuation Sheet)




                                                                                                                                              HUSBAND, WIFE, JOINT,
                                                                                                                                                 OR COMMUNITY




                                                                                                                                                                                                                                                    UNLIQUIDATED
                                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                   CODEBTOR




                                                                                                                                                                                                                                                                   DISPUTED
                                                                                CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                            INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                       (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                   ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                   Amca                                                                                               Quest Diagnostics Incorporat
                                                                   2269 S Saw Ml
                                                                   Elmsford, NY 10523



                                                                   ACCOUNT NO. 3368                                                                                   Installment account
                                                                                                                                                                      Deficiency from repossessed 2006 Pontiac Grand Prix
                                                                   Springleaf Financial S                                                                             2013-06-01
                                                                   601 NW 2nd St
                                                                   Evansville, IN 47708-1013
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                                                                                                                                                                                                                                                                               6,264.00
                                                                   ACCOUNT NO. 0474                                                                                   Open account
                                                                   Synchrony Bank                                                                                     2015-01-01
                                                                   200 Crossing Blvd Ste 101
                                                                   Bridgewater, NJ 08807-2876

                                                                                                                                                                                                                                                                               3,544.00
                                                                   ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                   Portfolio Recovery Ass                                                                             Synchrony Bank
                                                                   120 Corporate Blvd Ste 1
                                                                   Norfolk, VA 23502-4962



                                                                   ACCOUNT NO.




                                                                   ACCOUNT NO.




                                                                   ACCOUNT NO.




                                                                   Sheet no.       2 of        2 continuation sheets attached to                                                                                                       Subtotal
                                                                   Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              9,808.00
                                                                                                                                                                                                                                          Total
                                                                                                                                                                             (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                 the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                              Summary of Certain Liabilities and Related Data.) $                             13,063.00
                                                                                 Case
                                                                   B6G (Official Form 6G)15-24142
                                                                                         (12/07)                  Doc 1          Filed 07/15/15 Entered 07/15/15 15:45:37                                         Desc Main
                                                                                                                                  Document     Page 18 of 40
                                                                   IN RE Guerrero, Andrea                                                                                                    Case No.
                                                                                                                               Debtor(s)                                                                                  (If known)

                                                                                                SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                      Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                                                                   contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                   lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                   such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                                                                                   DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                      NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                       STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                         OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                         STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                                 Case
                                                                   B6H (Official Form 6H)15-24142
                                                                                         (12/07)                   Doc 1          Filed 07/15/15 Entered 07/15/15 15:45:37                                         Desc Main
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                                                                   IN RE Guerrero, Andrea                                                                                                     Case No.
                                                                                                                                Debtor(s)                                                                                   (If known)

                                                                                                                                   SCHEDULE H - CODEBTORS
                                                                      Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                   of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                   California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                   of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                   territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                   a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                   name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       Check this box if debtor has no codebtors.

                                                                                              NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR
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                                                                                      Case 15-24142                Doc 1          Filed 07/15/15 Entered 07/15/15 15:45:37                                     Desc Main
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                                                                                 Guerrero, Andrea
                                                                    Fill in this information to identify your case:


                                                                    Debtor 1          Andrea
                                                                                      ___        Guerrero
                                                                                          ____ _____ _______ ____ _____ ______ ____ ____________ ____ ______ ____ ____
                                                                                        F irst Name                Middle Name                  Last Name

                                                                    Debtor 2            ___ ____ _____ _______ ____ _____ ______ _________ _______ ____ _____ _____ __
                                                                    (Spouse, if filing) F irst Name                Middle Name                  Last Name


                                                                    United States Bankruptcy Court for the: Northern District of Illinois, Eastern Division

                                                                    Case num ber        ___ ____ _____ ______ _____ _____ ______ ____ _____                                        Check if this is:
                                                                        (If known)
                                                                                                                                                                                       An amended filing
                                                                                                                                                                                       A supplement showing post-petition
                                                                                                                                                                                       chapter 13 income as of the following date:
                                                                                                                                                                                       ________________
                                                                   Official Form 6I                                                                                                    MM / DD / YYYY


                                                                   Schedule I: Your Income                                                                                                                                             12/13
                                                                   Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                   supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                   If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                   separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                    Part 1:           Describe Employment
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                                                                   1.    Fill in your employment
                                                                         information.                                                                Debtor 1                                          Debtor 2 or non-filing spouse

                                                                          If you have more than one job,
                                                                          attach a separate page with
                                                                          information about additional          Employment status                      Employed                                           Employed
                                                                          employers.                                                                   Not employed                                       Not employed
                                                                          Include part-time, seasonal, or
                                                                          self-employed work.
                                                                                                                Occupation                       See Schedule Attached
                                                                                                                                                 __________________________________                __________________________________
                                                                          Occupation may Include student
                                                                          or homemaker, if it applies.
                                                                                                                Employer’s name                  __________________________________                __________________________________


                                                                                                                Employer’s address              __ ____ _______ _____ ____ _____ ______ ____ __   ___ _______ ____ _____ __________ _____ ______
                                                                                                                                                  Number Street                                     Number     Street

                                                                                                                                                __ ____ _____ ______ _____ _____ ______ ____ __   ___ _______ __ ______ _____ _______ ____ _____ _

                                                                                                                                                ____ _____ ____ _______ ____ _____ ______ ____    _____ _____ _____ ______ ____ _____ ______ ____


                                                                                                                                                __ ____ _____ ______ _____ _____ ______ ____ __   _____ _____ ______ _____ ____ _____ ______ ____
                                                                                                                                                  Cit y              State   ZIP Code               City                    State ZIP Code

                                                                                                                How long employed there?               _______                                      _______

                                                                    Part 2:           Give Details About Monthly Income

                                                                          Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                          spouse unless you are separated.
                                                                          If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                          below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                             For Debtor 1           For Debtor 2 or
                                                                                                                                                                                                    non-filing spouse
                                                                    2.     List monthly gross wages, salary, and commissions (before all payroll
                                                                           deductions). If not paid monthly, calculate what the monthly wage would be.               2.
                                                                                                                                                                               2,006.71
                                                                                                                                                                            $___________               $____________

                                                                    3.     Estimate and list monthly overtime pay.                                                   3.   + $___________
                                                                                                                                                                                 0.00              +   $____________


                                                                    4.     Calculate gross income. Add line 2 + line 3.                                              4.        2,006.71
                                                                                                                                                                            $__________                $____________



                                                                   Official Form 6I                                                         Schedule I: Your Income                                                                page 1
                                                                                       Case 15-24142                         Doc 1             Filed 07/15/15 Entered 07/15/15 15:45:37                                             Desc Main
                                                                                                                                                Document     Page 21 of 40
                                                                   Debtor 1             Andrea
                                                                                       ___         Guerrero
                                                                                           _______ ____ _____ ______ _____ ____ _______ ____ _____ _____                                         Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                       First Name          Middle Name                Last Name



                                                                                                                                                                                                For Debtor 1            For Debtor 2 or
                                                                                                                                                                                                                        non-filing spouse

                                                                         Copy line 4 here ............................................................................................   4.          2,006.71
                                                                                                                                                                                                 $___________               $_____________

                                                                   5.    List all payroll deductions:

                                                                          5a. Tax, Medicare, and Social Security deductions                                                              5a.          191.67
                                                                                                                                                                                                $____________              $_____________
                                                                          5b. Mandatory contributions for retirement plans                                                               5b.            0.00
                                                                                                                                                                                                $____________              $_____________
                                                                          5c. Voluntary contributions for retirement plans                                                               5c.            0.00
                                                                                                                                                                                                $____________              $_____________
                                                                          5d. Required repayments of retirement fund loans                                                               5d.            0.00
                                                                                                                                                                                                $____________              $_____________
                                                                          5e. Insurance                                                                                                  5e.            0.00
                                                                                                                                                                                                $____________              $_____________
                                                                          5f. Domestic support obligations                                                                               5f.            0.00
                                                                                                                                                                                                $____________              $_____________

                                                                          5g. Union dues                                                                                                 5g.            0.00
                                                                                                                                                                                                $____________              $_____________

                                                                          5h. Other deductions. Specify: __________________________________                                              5h.   + $____________
                                                                                                                                                                                                         0.00          +   $_____________

                                                                    6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.            191.67
                                                                                                                                                                                                $____________              $_____________

                                                                    7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.          1,815.04
                                                                                                                                                                                                $____________              $_____________
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                                                                    8.   List all other income regularly received:
                                                                          8a. Net income from rental property and from operating a business,
                                                                              profession, or farm
                                                                              Attach a statement for each property and business showing gross
                                                                              receipts, ordinary and necessary business expenses, and the total
                                                                                                                                                                                                        0.00
                                                                                                                                                                                                $____________              $_____________
                                                                              monthly net income.                                                                                        8a.
                                                                           8b. Interest and dividends                                                                                    8b.            0.00
                                                                                                                                                                                                $____________              $_____________
                                                                          8c. Family support payments that you, a non-filing spouse, or a dependent
                                                                              regularly receive
                                                                              Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                                                                                                      200.00
                                                                                                                                                                                                $____________              $_____________
                                                                              settlement, and property settlement.                                  8c.
                                                                          8d. Unemployment compensation                                                                                  8d.           0.00
                                                                                                                                                                                                $____________              $_____________
                                                                          8e. Social Security                                                                                            8e.            0.00
                                                                                                                                                                                                $____________              $_____________
                                                                           8f. Other government assistance that you regularly receive
                                                                               Include cash assistance and the value (if known) of any non-cash assistance
                                                                               that you receive, such as food stamps (benefits under the Supplemental                                                   0.00
                                                                                                                                                                                                $____________              $_____________
                                                                               Nutrition Assistance Program) or housing subsidies.
                                                                               Specify: ___________________________________________________ 8f.

                                                                           8g. Pension or retirement income                                                                              8g.            0.00
                                                                                                                                                                                                $____________              $_____________

                                                                           8h. Other monthly income. Specify: _______________________________                                            8h.   + $____________
                                                                                                                                                                                                         0.00            + $_____________
                                                                    9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.           200.00
                                                                                                                                                                                                $____________              $_____________

                                                                   10. Calculate  monthly income. Add line 7 + line 9.
                                                                         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.
                                                                                                                                                                                                    2,015.04
                                                                                                                                                                                                $___________       +        $_____________ = $_____________
                                                                                                                                                                                                                                                  2,015.04

                                                                   11.   State all other regular contributions to the expenses that you list in Schedule J.
                                                                         Include contributions from an unmarried partner, members of your household, your dependents , your roommates, and
                                                                         other friends or relatives.
                                                                         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
                                                                         Specify: _______________________________________________________________________________                                                                            11. + $_____________
                                                                                                                                                                                                                                                           0.00
                                                                   12.   Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                         Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                        12.        2,015.04
                                                                                                                                                                                                                                                     $_____________
                                                                                                                                                                                                                                                     Combined
                                                                                                                                                                                                                                                     monthly income
                                                                    13. Do     you expect an increase or decrease within the year after you file this form?
                                                                               No.
                                                                                              None
                                                                               Yes. Explain:


                                                                     Official Form 6I                                                                      Schedule I: Your Income                                                                       page 2
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                                                                   IN RE Guerrero, Andrea                                                               Case No.
                                                                                                                Debtor(s)

                                                                                             SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                                                     Continuation Sheet - Page 1 of 1
                                                                   EMPLOYMENT:           DEBTOR                                               SPOUSE
                                                                   Occupation            Cashier
                                                                   Name of Employer      McDonald's of Arlington Heights
                                                                   How long employed     1 months
                                                                   Address of Employer   1920 N Arlington Heights Rd
                                                                                         Arlington Heights, IL 60004-3107

                                                                   Occupation            Cashier
                                                                   Name of Employer      McDonalds - Pal-Mil Enterprises Inc.
                                                                   How long employed     5 years
                                                                   Address of Employer   1200 S Milwaukee Ave
                                                                                         Prospect Hts, IL 60070
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                                                                                         Case 15-24142                  Doc 1          Filed 07/15/15 Entered 07/15/15 15:45:37                                     Desc Main
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                                                                                   Guerrero, Andrea
                                                                        Fill in this information to identify your case:

                                                                        Debtor 1           Andrea
                                                                                          ___          Guerrero
                                                                                              _______ ____ _____ ____ _____ ______ ____ _______ _____ ____ _______ ____ _
                                                                                           First Name                   Middle Name                  Last Name                          Check if this is:
                                                                        Debtor 2           ___ ____ _____ _______ ____ _____ ______ _______ ____ _____ ____ _______ ___
                                                                        (Spouse, if filing) First Name                  Middle Name                  Last Name
                                                                                                                                                                                            An amended filing
                                                                                                                                                                                            A supplement showing post-petition chapter 13
                                                                        United Sta tes Bankruptcy Court for th e: Northern District of Illinois, Eastern Division                           expenses as of the following date:
                                                                                                                                                                                            ________________
                                                                        Case num ber       ___ ____ _____ ______ _____ _____ ______ _______ __                                              MM / DD / YYYY
                                                                         (If known)
                                                                                                                                                                                            A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                            maintains a separate household
                                                                   Official Form 6J
                                                                   Schedule J: Your Expenses                                                                                                                                            12/13

                                                                   Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                   information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
                                                                   (if known). Answer every question.

                                                                    Part 1:               Describe Your Household

                                                                   1.    Is this a joint case?

                                                                              No. Go to line 2.
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                                                                              Yes. Does Debtor 2 live in a separate household?

                                                                                           No
                                                                                           Yes. Debtor 2 must file a separate Schedule J.

                                                                   2.    Do you have dependents?                          No                                        Dependent’s relations hip to              De pendent’s   Does d epe ndent live
                                                                         Do not list Debtor 1 and                         Yes. Fill out this information for Debtor 1 or Debtor 2                             age            with you?
                                                                         Debtor 2.                                        each dependent..........................
                                                                                                                                                                                                                                 No
                                                                         Do not state the dependents’                                                               Daughter
                                                                                                                                                                    _________________________                 11
                                                                                                                                                                                                              ________
                                                                         names.                                                                                                                                                  Yes

                                                                                                                                                                    Daughter
                                                                                                                                                                    _________________________                 15
                                                                                                                                                                                                              ________           No
                                                                                                                                                                                                                                 Yes

                                                                                                                                                                    Son
                                                                                                                                                                    _________________________                 20
                                                                                                                                                                                                              ________           No
                                                                                                                                                                                                                                 Yes

                                                                                                                                                                    _________________________                 ________           No
                                                                                                                                                                                                                                 Yes

                                                                                                                                                                    _________________________                 ________           No
                                                                                                                                                                                                                                 Yes

                                                                   3.    Do your expenses include
                                                                                                                          No
                                                                         expenses of people other than
                                                                         yourself and your dependents?                    Yes

                                                                   Part 2:            Estimate Your Ongoing Monthly Expenses

                                                                   Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                   expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                   applicable date.
                                                                   Include expenses paid for with non-cash government assistance if you know the value of
                                                                   such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                                           Your expenses

                                                                    4.     The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                           any rent for the ground or lot.                                                                                              4.
                                                                                                                                                                                                                       830.00
                                                                                                                                                                                                                $_____________________

                                                                           If not included in line 4:
                                                                           4a.    Real estate taxes                                                                                                     4a.             0.00
                                                                                                                                                                                                                $_____________________
                                                                           4b.    Property, homeowner’s, or renter’s insurance                                                                          4b.             0.00
                                                                                                                                                                                                                $_____________________
                                                                           4c.    Home maintenance, repair, and upkeep expenses                                                                         4c.             0.00
                                                                                                                                                                                                                $_____________________

                                                                           4d.    Homeowner’s association or condominium dues                                                                           4d.             0.00
                                                                                                                                                                                                                $_____________________

                                                                        Official Form 6J                                                   Schedule J: Your Expenses                                                               page 1
                                                                                        Case 15-24142                Doc 1         Filed 07/15/15 Entered 07/15/15 15:45:37                           Desc Main
                                                                                                                                    Document     Page 24 of 40
                                                                    Debtor 1            Andrea
                                                                                        ___ _______Guerrero
                                                                                                   ____ _____ ______ _____ ____ _______ ____ _____ _____           Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                        First Name     Middle Name         Last Name




                                                                                                                                                                                                   Your expenses

                                                                                                                                                                                                  $_____________________
                                                                                                                                                                                                          0.00
                                                                    5.    Additional mortgage payments for your residence, such as home equity loans                                      5.


                                                                    6.    Utilities:
                                                                           6a.     Electricity, heat, natural gas                                                                         6a.            100.00
                                                                                                                                                                                                  $_____________________
                                                                           6b.     Water, sewer, garbage collection                                                                       6b.             0.00
                                                                                                                                                                                                  $_____________________
                                                                           6c.     Telephone, cell phone, Internet, satellite, and cable services                                         6c.            60.00
                                                                                                                                                                                                  $_____________________

                                                                           6d.     Other. Specify: _______________________________________________                                        6d.             0.00
                                                                                                                                                                                                  $_____________________

                                                                    7.    Food and housekeeping supplies                                                                                  7.             600.00
                                                                                                                                                                                                  $_____________________

                                                                    8.    Childcare and children’s education costs                                                                        8.             20.00
                                                                                                                                                                                                  $_____________________
                                                                    9.    Clothing, laundry, and dry cleaning                                                                             9.             100.00
                                                                                                                                                                                                  $_____________________
                                                                   10.    Personal care products and services                                                                             10.            25.00
                                                                                                                                                                                                  $_____________________
                                                                   11.    Medical and dental expenses                                                                                     11.            25.00
                                                                                                                                                                                                  $_____________________
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                                                                   12.    Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                                                                                         200.00
                                                                                                                                                                                                  $_____________________
                                                                          Do not include car payments.                                                                                    12.

                                                                   13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.             0.00
                                                                                                                                                                                                  $_____________________
                                                                   14.     Charitable contributions and religious donations                                                               14.             0.00
                                                                                                                                                                                                  $_____________________

                                                                   15.     Insurance.
                                                                           Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                           15a .   Life insurance                                                                                         15a .           0.00
                                                                                                                                                                                                  $_____________________
                                                                           15b .   Health insurance                                                                                       15b .           0.00
                                                                                                                                                                                                  $_____________________
                                                                           15c.    Vehicle insurance                                                                                      15c.           42.00
                                                                                                                                                                                                  $_____________________
                                                                           15d .   Other insurance. Specify:_______________________________________                                       15d .           0.00
                                                                                                                                                                                                  $_____________________

                                                                   16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                  $_____________________
                                                                           Specify: ________________________________________________________                                              16.


                                                                   17.    Installment or lease payments:

                                                                           17a .   Car payments for Vehicle 1                                                                             17a.            0.00
                                                                                                                                                                                                  $_____________________

                                                                           17b .   Car payments for Vehicle 2                                                                             17b .           0.00
                                                                                                                                                                                                  $_____________________

                                                                           17 c.   Other. Specify:_________________________________
                                                                                                                                  ______________                                          17c.            0.00
                                                                                                                                                                                                  $_____________________

                                                                           17 d.   Other. Specify:_________________________________
                                                                                                                                  ______________                                          17d .           0.00
                                                                                                                                                                                                  $_____________________

                                                                   18.    Your payments of alimony, maintenance, and support that you did not report as deducted from                                     0.00
                                                                                                                                                                                                  $_____________________
                                                                          your pay on line 5, Schedule I, Your Income (Official Form 6I).                                                  18.


                                                                   19.    Other payments you make to support others who do not live with you.                                                             0.00
                                                                                                                                                                                                  $_____________________
                                                                          Specify:_______________________________________________________                                                  19.

                                                                   20.    Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

                                                                           20a .   Mortgages on other property                                                                           20 a.            0.00
                                                                                                                                                                                                  $_____________________

                                                                           20b .   Real estate taxes                                                                                     20b .            0.00
                                                                                                                                                                                                  $_____________________

                                                                           20c.    Property, homeowner’s, or renter’s insurance                                                          20c.             0.00
                                                                                                                                                                                                  $_____________________

                                                                           20d .   Maintenance, repair, and upkeep expenses                                                              20d .            0.00
                                                                                                                                                                                                  $_____________________

                                                                           20e .   Homeowner’s association or condominium dues                                                           20e .            0.00
                                                                                                                                                                                                  $_____________________



                                                                         Official Form 6J                                              Schedule J: Your Expenses                                                           page 2
                                                                   0.00
                                                                                      Case 15-24142                Doc 1         Filed 07/15/15 Entered 07/15/15 15:45:37                             Desc Main
                                                                                                                                  Document     Page 25 of 40
                                                                     Debtor 1          Andrea
                                                                                      ___         Guerrero
                                                                                          _______ ____ _____ ______ _____ ____ _______ ____ _____ _____            Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                      First Name     Middle Name         Last Name




                                                                    21.     Other. Specify: _________________________________________________                                            21 .            0.00
                                                                                                                                                                                                +$_____________________

                                                                    22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                                                                                                       2,002.00
                                                                                                                                                                                                  $_____________________
                                                                           The result is your monthly expenses.                                                                          22 .




                                                                    23.   Calculate your monthly net income.
                                                                                                                                                                                                        2,015.04
                                                                                                                                                                                                   $_____________________
                                                                          23a.   Copy line 12 (your combined monthly income) from Schedule I.                                           23a.

                                                                          23b.   Copy your monthly expenses from line 22 above.                                                         23b .   – $_____________________
                                                                                                                                                                                                        2,002.00

                                                                          23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                                                                                          13.04
                                                                                                                                                                                                   $_____________________
                                                                                 The result is your monthly net income.                                                                 23c.




                                                                    24.    Do you expect an increase or decrease in your expenses within the year after you file this form?
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                                                                           For example, do you expect to finish paying for your car loan within the year or do you expect your
                                                                           mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

                                                                              No.
                                                                              Yes.    None




                                                                          Official Form 6J                                           Schedule J: Your Expenses                                                             page 3
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                                                                                                                        United States Bankruptcy Court
                                                                                                                   Northern District of Illinois, Eastern Division

                                                                   IN RE:                                                                                                       Case No.
                                                                   Guerrero, Andrea                                                                                             Chapter 7
                                                                                                                    Debtor(s)

                                                                                                                     STATEMENT OF FINANCIAL AFFAIRS
                                                                      This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                   is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                   is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                   farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                   personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent or
                                                                   guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                     Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                   25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                   use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                           DEFINITIONS

                                                                     "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                   for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
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                                                                   an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
                                                                   partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
                                                                   form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                     "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                   which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and their relatives;
                                                                   affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101(2),(31).

                                                                   1. Income from employment or operation of business
                                                                    None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                           including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                           case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                           maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                           beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                           under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                           joint petition is not filed.)
                                                                               AMOUNT SOURCE
                                                                               33,188.00 2013 Income
                                                                               26,627.00 2014 Income
                                                                                5,000.00 2015 Income

                                                                   2. Income other than from employment or operation of business
                                                                    None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                           two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                           separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                           the spouses are separated and a joint petition is not filed.)

                                                                   3. Payments to creditors
                                                                   Complete a. or b., as appropriate, and c.
                                                                    None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                           debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
                                                                           constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                           a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
                                                                           counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                           petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                    None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                           preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
                                                                           $6,255.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                           obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
                                                                           debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
                                                                           is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                           * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                    None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                           who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                           a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                   4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                    None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                           bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                           not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                    None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                           the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                           or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                   5. Repossessions, foreclosures and returns
                                                                    None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
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                                                                           the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                           include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                           joint petition is not filed.)

                                                                   6. Assignments and receiverships
                                                                    None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                           (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                           unless the spouses are separated and joint petition is not filed.)

                                                                    None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                           commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                           spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                   7. Gifts
                                                                    None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                           gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                           per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                           a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                   8. Losses
                                                                    None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                           commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                           a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                   9. Payments related to debt counseling or bankruptcy
                                                                    None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                           consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                           of this case.
                                                                                                                                    DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                   NAME AND ADDRESS OF PAYEE                                        PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                   Chicago Legal, LLC                                               2015                                                                $1,865.00
                                                                   3833 Harlem Ave
                                                                   Berwyn, IL 60402-3925
                                                                                  Case 15-24142               Doc 1         Filed 07/15/15 Entered 07/15/15 15:45:37                                Desc Main
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                                                                   10. Other transfers
                                                                    None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                           absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                           chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                           petition is not filed.)

                                                                    None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
                                                                           device of which the debtor is a beneficiary.

                                                                   11. Closed financial accounts
                                                                    None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                           transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                           certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                           brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                           accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                           petition is not filed.)

                                                                   12. Safe deposit boxes
                                                                    None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                           preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                           both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                   13. Setoffs
                                                                    None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                           case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                           petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                   14. Property held for another person
                                                                    None   List all property owned by another person that the debtor holds or controls.


                                                                   15. Prior address of debtor
                                                                    None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                           that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                   16. Spouses and Former Spouses
                                                                    None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                           Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                           identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                   17. Environmental Information
                                                                   For the purpose of this question, the following definitions apply:
                                                                   “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                   wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                   the cleanup of these substances, wastes or material.
                                                                   “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                   debtor, including, but not limited to, disposal sites.
                                                                   “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                   or similar term under an Environmental Law.

                                                                    None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                           potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                           Environmental Law.

                                                                    None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                           the governmental unit to which the notice was sent and the date of the notice.
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                                                                                                                                                   United States Bankruptcy Court
                                                                                                                                              Northern District of Illinois, Eastern Division

                                                                   IN RE:                                                                                                                                                                     Case No.
                                                                   Guerrero, Andrea                                                                                                                                                           Chapter 7
                                                                                                                                                Debtor(s)

                                                                                                                DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                                                   1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that compensation paid to me within
                                                                          one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation
                                                                          of or in connection with the bankruptcy case is as follows:

                                                                          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $               1,865.00

                                                                          Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                   1,865.00

                                                                          Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $

                                                                   2.     The source of the compensation paid to me was:                                 Debtor             Other (specify):

                                                                   3.     The source of compensation to be paid to me is:                                Debtor             Other (specify):

                                                                   4.            I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

                                                                                 I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy of the agreement,
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                                                                                 together with a list of the names of the people sharing in the compensation, is attached.

                                                                   5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                                                                          a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                          b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
                                                                          c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                                                                          d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
                                                                          e.     [Other provisions as needed]




                                                                   6.     By agreement with the debtor(s), the above disclosed fee does not include the following services:




                                                                                                                                                                                  CERTIFICATION
                                                                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                                                                        proceeding.


                                                                                                    July 15, 2015                                                 /s/ Karen Walin
                                                                                                             Date                                                 Karen Walin 6192832
                                                                                                                                                                  Chicago Legal, LLC
                                                                                                                                                                  3833 Harlem Ave
                                                                                                                                                                  Berwyn, IL 60402-3925
                                                                                                                                                                  (708) 795-7000 Fax: (708) 788-8942
                                                                                                                                                                  kwalin@chicagolegalllc.com
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   A/R Concepts
   18-3 E Dundee Rd
   Barrington, IL 60010-5292


   Amca
   2269 S Saw Ml
   Elmsford, NY 10523


   AT&T
   P O Box 755
   Atwater, CA     95301-0755


   Comenity Bank/Carsons
   3100 Easton Square Pl
   Columbus, OH 43219-6232


   Comenity Bank/Roomplce
   PO Box 182789
   Columbus, OH 43218-2789


   Dish Network
   9601 S Meridian Blvd
   Englewood, CO 80112-5905


   Eos Cca
   PO Box 981008
   Boston, MA 02298-1008
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   Hy Cite/Royal Prestige
   333 Holtzman Rd
   Madison, WI 53713-2109


   Kohls/capone
   N56 W 17000 Ridgewood Dr
   Menomonee Falls, WI 53051


   Municipality Des Plaines Il
   1420 Miner St
   Des Plaines, IL 60016-4484


   Portfolio Recovery Ass
   120 Corporate Blvd Ste 1
   Norfolk, VA 23502-4962


   Quest Diagnostics Incorporat
   7800 W College Dr
   Palos Heights, IL 60463-1007


   Springleaf Financial S
   601 NW 2nd St
   Evansville, IN 47708-1013


   Stellar Recovery Inc
   1327 Highway 2
   Kalispell, MT 59901
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   Synchrony Bank
   200 Crossing Blvd Ste 101
   Bridgewater, NJ 08807-2876
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                                                                   FB 201A (Form 201A) (06/14)


                                                                                                       UNITED STATES BANKRUPTCY COURT

                                                                                                 NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                                                                                          OF THE BANKRUPTCY CODE

                                                                            In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
                                                                   Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
                                                                   costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
                                                                   notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

                                                                           You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
                                                                   advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
                                                                   cannot give you legal advice.

                                                                            Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
                                                                   ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
                                                                   court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
                                                                   each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
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                                                                   receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
                                                                   statement with the court requesting that each spouse receive a separate copy of all notices.

                                                                   1. Services Available from Credit Counseling Agencies

                                                                           With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
                                                                   bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
                                                                   credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
                                                                   days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted
                                                                   by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
                                                                   United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
                                                                   approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

                                                                           In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
                                                                   management instructional course before he or she can receive a discharge. The clerk also has a list of approved
                                                                   financial management instructional courses. Each debtor in a joint case must complete the course.

                                                                   2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

                                                                            Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
                                                                            Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
                                                                   Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
                                                                   should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
                                                                   residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
                                                                   have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court
                                                                   to decide whether the case should be dismissed.
                                                                            Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
                                                                   right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
                                                                   creditors.
                                                                            The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
                                                                   have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your
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                                                                   discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                            Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
                                                                   may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
                                                                   and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
                                                                   which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a
                                                                   motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose
                                                                   from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine
                                                                   that the debt is not discharged.

                                                                            Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
                                                                   $75 administrative fee: Total fee $310)
                                                                            Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
                                                                   installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
                                                                   set forth in the Bankruptcy Code.
                                                                            Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
                                                                   them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
                                                                   depending upon your income and other factors. The court must approve your plan before it can take effect.
                                                                            After completing the payments under your plan, your debts are generally discharged except for domestic support
                                                                   obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
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                                                                   properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
                                                                   secured obligations.

                                                                            Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
                                                                            Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
                                                                   provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with
                                                                   an attorney.

                                                                            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
                                                                            Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
                                                                   future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
                                                                   income arises primarily from a family-owned farm or commercial fishing operation.

                                                                   3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

                                                                            A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
                                                                   perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
                                                                   information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
                                                                   acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
                                                                   employees of the Department of Justice.

                                                                   WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding
                                                                   your creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be
                                                                   dismissed if this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the
                                                                   Bankruptcy Rules, and the local rules of the court. The documents and the deadlines for filing them are listed on Form
                                                                   B200, which is posted at http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
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                                                                   B201B (Form 201B)     15-24142
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                                                                                                                  United States Bankruptcy Court
                                                                                                             Northern District of Illinois, Eastern Division

                                                                   IN RE:                                                                                            Case No.
                                                                   Guerrero, Andrea                                                                                  Chapter 7
                                                                                                              Debtor(s)

                                                                                                  CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                      UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                    Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                   I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                   notice, as required by § 342(b) of the Bankruptcy Code.


                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer                                  Social Security number (If the bankruptcy
                                                                   Address:                                                                                         petition preparer is not an individual, state
                                                                                                                                                                    the Social Security number of the officer,
                                                                                                                                                                    principal, responsible person, or partner of
                                                                                                                                                                    the bankruptcy petition preparer.)
                                                                                                                                                                    (Required by 11 U.S.C. § 110.)
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                                                                   X
                                                                   Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                   partner whose Social Security number is provided above.

                                                                                                                          Certificate of the Debtor

                                                                   I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                   Guerrero, Andrea                                                       X /s/ Andrea Guerrero                                        7/15/2015
                                                                   Printed Name(s) of Debtor(s)                                               Signature of Debtor                                           Date


                                                                   Case No. (if known)                                                    X
                                                                                                                                              Signature of Joint Debtor (if any)                            Date


                                                                   Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                   Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                   NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                   attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                   page 3 of Form B1 also include this certification.
